Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/20080 Frage 1 of 31

James B. Owens, public insurance adjuster
22 McGarry Avenue
Wamick, RI 02889
toll free: 877-840-2623 fax: 401-463-9444 E-fax: 401-633-7711

BUILDING ESTIMATE

[= This fs an estimate of recorded damages and is subject to review and final approval by the insurance carrier. we
Form EST-12.6-SP4 Exhibit “C” Cover Page

4T/S@ FoVd ONTLSN’AY SNAMO WIC 6pTEEIIS/LT 6S°S8 966Z/ET/Z8
Case 2:

09-cv-14344-KMM Document 1-3

Entered on FLSD Docket 10/07/2009 Page 2 of 31

lINSURED

' : Deb Kurtell Medical Center DATE OF REPORT ; 12/7/2005
|LOCATION : 777 37th Street DATEOFLOSS —_: 9/5/2004
| : Vero Beach, FL 32960 POLICY NUMBER ; 99021372872004
|COMPANY : Fidelity National Insurance Company CLAIM NUMBER ___ ; 0568fla |
: OUR FILE NUMBER _: 0565fla
L ADJUSTER NAME: Rich /
Area Name: General Conditions —
Quant! Description Unit Cost RCV DEP ACV
1.0 EA|Job Permit, subject to local authorities $0.00 $0.00 $0.00:
100.0 HR|Additional Labor Hours for Demolition $25.78 $2,578.00 $2,578.00
80.0 HR|Construction Clean-up $26.78] © $2,062.40 $2,062.40
8.0 EA;Dumpster Rental $470.45 $3,763.60 $3,763.60
3100.0 LF/Security Fencing Temporary Utilities $2.03 $6,293.00 $6,293.00
92000.0 S/Water Loss Clean Up $0.66| $60,720.00 $60,720.00:
Totals For General Conditions $75,417.00 $0.00) $75,417.00!
Area Name: Elevators
Elevators 00... sesuscsesasavensnensaqecssaseessnesssnee 16' x 18 5.0" x 22!
Lower Perimeter. 68.80 LF Floor SF: 294.70 SF. Wall SF: 1514.50 SF
Upper Perimeter. 68.80 LF Floor SY: 32.74 SY Ceiling SF: 294.70:SF
Quantity Description Unit Cost [| — RCV DEP ACV. |;
1.0 EA)Repair Elevator [Inspection & Temporary $9,890.73 $9,890.73 $9,890.73;
1.0 EAIR/R 2 Stop Commercial Elevator $66,128.87| $66,128.87 $66,128.87!
1.0 EA/Remove 2 Stop Commercial Elevator $13,227.12) -$13,227.12 $13,227.12!
4.0 EA|Re-install 2 Stop Commercial Elevator $35,000.00) $35,000.00 $35,000.00:
Totals For Elevators $124,246.72 $0.00| $124,248.72
|
Main Grouping: Structures
Area Name: A Wing Storage Area i
A Wing Storage Area... .s cece cece sntentenne es 40! x 20° 6.0" x 10°
[Lower Perimeter. 121.00 LF Floor SF: 820.00 SF Wall SF: 1210.00 SF
Upper Perimeter: 121.00 LF Floor SY: 91.11 SY Ceiling SF: 820.00 SF
Quantity Description Unit Cost RCV DEP. | ACV
4210.0 SF|Paint / Finish Masonry Block Wall $0.97| © $1,173.70 $1,173.70
4.0 EA|Re-install Prehung Steel Door $31.43 $31.43 $31.43
1.0 EA|Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
1.0 EAiRemove Prehung Steel Door $44.90 $44.90 $44.90
1.0 EA'R/R Metal Jamb for Prehung Stee! Door $183.41 $183.41 $183.41
4.0 EA|Paint / Finish Metal Jamb for Prahung Steel Door $13.97 $13.97 $13.97
4.0 EAIRJR Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EA'R/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
1.0 EA/RIR ID Sign on Stee! Door $66.38 $66.38 $66.38
820.0 SFiPaint Concrete Stab $0.96 $787.20 $787.20
1.0 LSiMove/Reset Contents $590.86 $590.86 $590.86
Totals For A Wing Storage Area | $3,189.60 $0.00! $3,189.60
[This is an estimate of recorded damages and Is subject to review and final approval by the insurance carrier. _"~ |
Fore CEST-2.6.5P4 Page: 1
21/98 FONd ONTAsNray SNAMO WIL 6PIEESISALT Z2G:S@ 98aZ/ET/2G
Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 3 of 31

HNSURED — : Deb Kurfell Medical Center DATE OF REPORT: 12/7/2005
{LOCATION _ : 777 37th Street DATE OF LOSS : 9/5/2004
| : Vero Beach, FL 32960 POLICY NUMBER -_ ; 99021372872004
|GOMPANY _ : Fidelity National Insurance Company CLAIM NUMBER __ ; 05685fla
OUR FILE NUMBER: 0568fla
| ADJUSTER NAME ~ : Rich
Main Grouping: Structures |
Area Name: Meter Room A
Meter ROOM A .......:-scs-ssssesssersennesensesesssssesseste 42’ x 20° 7.0" x 9' 6.0" .
Lower Perimeter. 65.20 LF Floor SF: 247.00 SF Wall SF: 619.00 SF
Upper Perimeter: 65.20 LF Floor SY: 27.44 SY Ceiling SF: - 2.47.00 SF
Quantity Description Unit Cost] RCV ‘DEP ‘ACV:
921.4 SFiDemo Masonry Walls $4.69] $4,321.37 $4,321.37:
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.

247.0 SF'Demo Concrete Slab $1.67; . $412.49 $412.49
65.2 LF|R/R Concrete Footing $21.26 $1,386.15 $1,386.15
65.2 SF|Base Course of crushed stone 12" $2.16 $140.83 $140.83

380.0 SFiGrade Area wiexisting materials $0.69 $269.10 $269.10
12.0 CY|Back Fill $13.98 $167.76 $167.76

247.0 SF ‘Replace Concrete Slab $12.92! - $3,191.24 $3,191.24

619.0 SF/Replace Masonry Block Wail $14.43 $8,932.17 $8,932.17

619.0 SFiPaint / Finish Masonry Block Wail $0.97 $600.43 $600.43

1.0 EA'Remove Prehung Steel Door $44.90 $44.90 $44.80
1.0 EA)Re-install Prehung Steel Door $31.43 $31.43 $31.43
1.0 EA/Paint / Finish Prahung Steel Door $34.21 $34.21 $34.21
1.0 EAJR/JR Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EA|R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119,06 $119.06
1.0 EAJR/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
1.0 EA!R/R ID Sign on Steet Door $66.38 $66.38 $66.38
247.0 SF Paint Concrete Slab $0.96 $237.12 $237.12
1.0 EA'Remove Electrical Services $4,500.00} . $4,500.00 $4,500.00
1.0 EA/Re-install Electrical Services $5,500.00 $5,500.00 $5,500.00
500.0 SF/Temporary Bracing upper shafts $12.90 $6,450.00 $6,450,
Totals For Meter Room A [$36,746.50 $0.00] $36,748.50

Matn Grouping: Structures

Area Name: Moter Room B . .

Mater ROOM B vassssscencenetenee seeeeessnsntresce 97.0" X 20! 7,0" x 9" 3.0"

Lower Perimeter: 60.30 LF Floor SF: 197.20 SF _ Wall SF: 558.00 SF

Upper Perimeter: 60.30 LF Floor SY: 21.91 SY . _ Ceiling SF: 197.20 SF

Quantity | Description | Unit Cost Rev | DEP [__AGV
{ - . ae
[is This is an estimate of recorded damages and is subject to review and final approval by the insurance carrier. se |
Form CEST-42 5-SP4 Page: 2
21/28 3OVd SNILSNCdy SNaMO WIL EPIEESIZLLAT ZG:G@ 98Z/ET/ZO
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[INSURED

~: Deb Kurtell Medical Center

DATE OF REPORT

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: 12/7/2005
LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004
: Vero Beach, FL 32960 POLICY NUMBER _ : 99021372872004
| COMPANY : Fidelity National Insurance Company CLAIM NUMBER : O566fla
: OUR FILE NUMBER _: 0585fla
| ADJUSTER NAME _ : Rich |
Structures : Meter Room B - continued... | :
Quantity Description Unit Cost | RCV DEP ACV.
921.4 SF/Demo Masanry Walls $4.69] - $4,321.37 $4,321.37
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.

197.2 SF\Demo Concrete Slab $1.67! © $329.32 $329.32
60.3 LFIR/R Concrete Footing $21.26) $1,281.98 $1,281.98;
65.2 SF'Bage Course of crushed stone 12" $2.16 $140.83 $140.83!

390.0 SFiGrade Area w/existing materials $0.69 $269.10 $269.10:
12.0 CY'Back Fill $13.98 $1687.76 $167.76

197.2 SFiReplace Concreta Slab $12.92! $2,547.82 $2,547.82

§58.0 SF/Replace Masonry Block Wall $14.43| $8,051.94 $8,051.94

558.0 SF|Paint / Finish Masonry Block Wall $0.97 $541.26 $541.26

1.0 EA|Remove Prehung Steel Door $44.90 $44.90 $44.90
1.0 EA/Re-install Prehung Stee! Door $31.43 $31.43 $31.43
1.0 EA|Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
1.0 EAIRJR Metal Jamb for Prehung Stee! Door $183.41 $183.41 $183.41
1.0 EA'Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EA'R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EA|R/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
1.0 EAJRIR ID Sign on Steel Door $66.38 $66.38 $66.38
197.2 SF|Paint Concrete Stab $0.96 $189.31 $189.31
1.0 EAiRemove Electrical Services $4,500.00 $4,500.00 $4,500.00
1.0 EAiRe-install Electrical Services $5,500.00} . $5,500.00 $5,500.00
Totals For Meter Room B $28,478.53 $0.00| $28,478.53
Main Grouping: Structures
Area Name: Maintainence Room
Maintainence Room .........-.. ele ees eassnssensenrsce 13’ x 24'x 9’
© Storage ROOM 0... seeseseesecceceeseeeestenenrenees 17°6.0° x 13° 6.0°x 3
‘Lower Perimeter 109.00 LF Floor SF: 548.20 SF Wall SF: 981.00 SF
Upper Perimeter: 109,00 LF Floor SY: 60.91 SY ’ Ceiling SF: 548.20 SF
Quantity Description Unit Cost | RCV DEP. ACV
1.0 LS/Move/Reset Contents $580.86 $590.86 $590.86
34.0 EAlRemove Commercial Steel Shelving $14.96 $508.64 $508.64
34.0 EA|Re-install Commercial Steel Shelving $37.65 $1,280.10 $1,280.10
981.0 SF/Paint / Finish Masonry Wall & Ceiling $0.97 $951.57 $951.57
548.2 SFiSeal & Paint / Finish Concrete Slab $0.97 $531.75 $531.75
1.0 EAiRe-install Prehung Steel Door $31.43 $31.43 $31.43:
1.0 EA/Paint / Finish Prehung Steel_Door 934.21 $34.21 $34.21;

("= This is an estimate of recorded damages and is subject to review and final approval by th
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Case 2:

09-cv-14344-KMM Document 1-3

INSURED

DATE OF REPORT

Entered on FLSD Docket 10/07/2009 Page 5 of 31

~ : Deb Kurtell Medical Center : 12/7/2005
| LOCATION: 777 37th Street DATEOFLOSS | : 9/5/2004 |
| : Vero Beach, FL 32960 POLICY NUMBER __ < 99021372872004
{COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : O565fla

: OUR FILE NUMBER: 0565fla
ADJUSTER NAME. : Rich
‘Structures : Maintainence Room - continued... | :
| Quantity . Description Unit Cost | — RCV DEP ACV
1.0 EA|Remove Prehung Stee! Door $44.90 $44.90 $44.90:
1,0 EAIR/R Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41]
1.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97!
1.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EAIR/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48!
1.0 EAIR/R Exit Sign over Prehung Steel Door $136.38 $136.38 $136.38;
1.0 EA|Paint / Finish Roll-up Garage Door $144.86 $144.86 $144.86!
Totals For Maintainence Room | $4,715.62 $0.00! $4,715.62!
Main Grouping: Structures .
Area Name: Center Storage Area
Center Storage Area -.-....sccsesreeeccreceeeecstreenares 74x 2x7
Lower Perimeter: 190.00 LF Floor SF: 1554.00’ SF Wall SF: 1330.00 SF
Upper Perimeter. 190.00 LF Floor SY: 172.67 SY Ceiling SF: 1554.00 SF
Quantity . Description Unit Cost| . RCV DEP ACV
1330.0 SFiPaint / Finish Masonry Block Wail $0.97| © $1,290.10 $1,290.10:
2.0 EA/Re-install Prehung Steel Door $31.43 $62.88 $62.86!
2.0 FA\Paint/ Finish Prehung Steel Door $34.21 $68.42 $68.42
2.0 EA;Remove Prehung Steel Door $44.90 $89.80 $89.80
2.0 EAJR/R Metal Jamb for Prehung Stee! Door $183.41 $366.82 $366.82
2.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $27.94 $27.94
2.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Stee! Door $119.06 $238.12 $238.12
2.0 EAJR/R Lever Handle for Prehung Steel Door $144.48 $288.96 $288.96
2.0 EA|R/R ID Sign on Steel Door $66.38 $132.76 $132.76
1554.0 SF|Paint Concrete Slab $0.96 $1,491.84 $1,491.84
Totals For Center Storage Area | $4,057.62 $0.00| $4,057.62:
Malin Grouping: Structures
Area Name: Stair Tower
Stair TOW! oo. eccccceseccesccseesserscececceeecutcsteestserecsees 17" 8.0" X 10% 8.0" x 9
OPODing ........seescereesescstsrtenetenenneesceeenee peeves 10' 8.0" X 9!
Lower Perimeter. 45.70 LF Floor SF: 186.70 SF Wall SF: 411.00 SF
Upper Perimeter: 56.30 LF Floor SY: 20.74 SY Ceiling SF: 186.70 SF
Quantity _____ Description Unit Cost] RCV. | DEP ACV.__|
188.7 SF|Pressure Wash Area $2.38 $444.35 $444.35
411.0 SFiPaint / Finish Masonry Block Wall $0.67 $275.37 $275.37
186.7 SF|Scrape and Paint Concrete Slab $0.96 $179.23 $179.23
" Totals For Stair Tower | $898.95 $0.00 $898.95:

vee _sThis fs an esGimate of recorded damages and is subject to review and final approval by the insurance carrier.

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Page: 4

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 6 of 31

‘INSURED

: Deb Kurtell Medical Center DATE OF REPORT: 12/7/2005
‘LOCATION =: 777 37th Street DATE OF LOSS — : 9/5/2004
: Vero Beach, FL 32960 POLICY NUMBER — : 99021372872004
| COMPANY : Fidelity National Insurance Campany CLAIM NUMBER : 0565fla
: OUR FILE NUMBER _: 0565fla
: ADJUSTER NAME — : Rich
Main Grouping: Structures
Area Namo: - Elevator Shaft
Elevator Shaft ............:ccssceeee gedvecesctsusaesenanes 16' x 18' 5.0* x 24!
Lower Perimeter: 68.80 LF Floor SF: 294.70 SF Wall SF: 1652.20.SF
Upper Perimeter. 68.80 LF Floor SY: 32.74 SY Ceiling SF: 294:70 SF
Quantity | | Description Unit Cost; © RCV DEP ACV
754.0 SF|/Demo Masonry Building $3.69) $2,782.26 $2,782.26
294.7 SFiDemo Concrete Stab $1.67 $492.15 $492.15
68.8 LF/R/R Concrete Footing $14.24 $979.71 $979.71
136.0 SFiCrushed Stone $2.16 $293.76 $293.76.
294.7 SFiGrade and Fill (2') $0.69 $203.34 $203.34;
12.0 CY'Back Fill $13.98, | $167.76 $167.76:
204.7 SF|Replace Concrete Slab $3.92) . $1,165.22 $1,155.22:
754.0 SFiReplace Masonry Block Wall $5.43 $4,094.22 $4,094.22)
754.0 SFiPaint / Finish Masonry Block Wall $0.67| $505.18 $505.18:
1.0 EAjRemove Prehung Stee! Door $44.90 $44.90 $44.90:
1.0 EAjRe-install Prehung Steel Door $31.43 $31.43 $31.43
1.0 EA'Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
4.0 EA'R/R Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metat Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EA|R/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
4.0 EA|R/R Signage $136.38 $545.52 $545.52
294.7 SF|Paint Concrete Slab $0.96 $282.91 $282.91!
1.0 EA/Remove Electric Service $2,500.00; $2,500.00 $2,500.00
1.0 EAIRe-install Electric Service $3,500.00 $3,500.00 $3,500.00
Totals For Elevator Shaft| [$18,073.49] .-  $0,00|. $18,073.49)
Main Grouping: Structures
Area Name: Meter Room C
t
Meter ROOM C uu...cccesce ccs csssenerseeccecesnessansneneress 12' x 42' x 9' 2.0° i
OFS occ ccscececseeceecscctseseesensesecesesectettnspees OX ZO" X OF2.0"
Lower Perimeter. 114.00 LF Floor SF: 564.00 SF Wall SF: 1045.40 SF
Upper Perimeter. 114.00 LF Floor SY: 62.67 SY Ceiling SF: 564.00 SF
Quantity Description Unit Cost RCV DEP ACV
901.7 SF|Demo Masonry Building $3.69 $3,327.27 $3,327.27
564.0 SFi\Demo Concrete Slab $1.67| $941.88 $941.88
114.0 LFIR/R Concrete Footing $14.24 $1,623.36 $1,623.36
390.0 SF/Crushed Stone $0.69 $269.10 $269.10
24.0 CY |Back Fill $13.98, $335.52 $335.52)
564.0 SF|Replace Cancrete Slab $3.92 $2,210.88 . $2,210.88

[_*  Thisisan estimate of recorded damayes and is subject to review and final approval by the insurance carrier. *™*_}
* SIMSOL® .

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"Deb Kurtell Medical Center

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|INSURED | DATE OF REPORT ; 12/7/2005
[LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004 :
y ; Vero Beach, FL 32960 POLICY NUMBER ; $9021372872004
|COMPANY : Fidelity National Insurance Company CLAIM NUMBER : 0566fla
: OUR FILE NUMBER =: 0566fla
[L ADJUSTER NAME _ : Rich
Structures : Meter Room C - continued... | a
Quantity Description. + Unit Cost RCV DEP ACV
1045.4 SF|Repiace Masonry Block Wall $5.43| - $5,676.52 $5,876.52;
1045.4 SFiPaint / Finish Masonry Block Wall $0.67 $700.42 $700.42
1.0 EA/Remove Prehung Stee! Door 344.90 $44.90 $44.90
1.0 EA/Re-install Prehung Steel Door $31.43 $31.43 $31.43;
1.0 EA'Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
1.0 EA'R/R Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97:
1.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EAIR/R Lever Handle for Prehung Steel Door $144.48 $144,48 $144.48
1.0 EA:ID on Steel Door $66.38 $66.38 $66.38
564.0 SFiPamt Concrete Slab $0.96 $541.44 $541.44
1.0 EA/Remove Electrical Service $4,500.00} | $4,500.00 $4,500.00!
1.0 EAiRe-install Electrical Service $5,500.00! — $5,500.00 $5,500.00:
Totals For Meter Room C [$26,264.23| $0.00! $26,264.23!
Main Grouping: Structures |
Area Name: Stair Towor {
Stair TOWER oes cecscccsesssersnssessccessseececsesssnsevaness 19'x 9' 6.0" x9"
OPENING on. aecssssssessesssssssensesceecsoetrsegerneeeeseneee 10' 8.0" x 9'
OPONing .-...--.--e cece ceaatenenennsnnnneeecreneeseetees 9' 6.0" x 9
Lower Perimeter. 36.80 LF Floor SF: 180.50 SF Wall SF: 331.50 SF
Upper Perimeter: 57,00 LF Floor SY: 20.06 SY Ceiling SF: 180.50 SF
Quantity . Description Unit Cost RCV DEP ACV
331.5 SF|Paint / Finish Masonry Wall & Ceiling $0.97 $321.56 $321.56
180.5 SF\Pressure Wash Area $2.38 $429.59 $429.59)
180.5 SF|Scrape and Paint Concrete Slab $0.96; = $173.28 $173.26
_ "Totals For Stair Tower | $924.43 $0.00 $924.43
Main Grouping: Structures
Area Name: Meter Room D
Meter Room D sessesesesnsessneseesennnnenvnnentvvn _.. 12°x 20° 7.0" x 9 2.0"
Lower Perimeter, 65.20 LF Floor SF: 247.00 SF Wall SF: 597.50 SF
Upper Perimeter: 65.20 LF . Floor SY: 27.44 SY Ceiling SF: 247.00 SF
| Quantity Description [Unit Gost] Rev [DEP | _Acv
This ts an estimate of recorded damages and is subject to review and final approval by the insurance carrier, __*** |

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Case 2:09-cv-14344-KMM Document 1-3

Entered on FLSD Docket 10/07/2009 Page 8 of 31

: Deb Kurtell Medical Center

DATE OF REPORT

‘INSURED : 12/7/2005
|LOCATION : 777 37th Street DATE OF LOSS : 9/6/2004
| : Vero Beach, FL 32960 POLICY NUMBER : 9902 1372872004 :
ICOMPANY _ : Fidelity National insurance Company CLAIM NUMBER : O565fla

: OUR FILE NUMBER  : 0565fla
: ADJUSTER NAME — : Rich
Structures : Meter Room D - continued... | j
Quantity Description | Unit Cost RCV ____._DEP ACV

921.4 SF|\Demo Masonry Walls $4.69) -$4,321.37 $4,321.37

Cost includes demolition of one story masonry

block or brick building, Including hauling of

debris but no dump fees.

Cost includes demolition of one story masonry

block or brick building, including hauling of

debris but no dump fees.

247.0 SF|Demo Concrete Slab $1.67 $412.49 $412.49
65.2 LF|R/R Concrete Footing $21.26) $1,386.15 $1,386, 15
65.2 SFiBase Course of crushed stone 12" $2.16 $140.83 $140.83

390.0 SFiGrade Area w/existing materials $0.69 $269.10 $269.10:
12.0 CY Back Fill $13.98 $167.76 $167.76;

247.0 SF'Replace Concrete Slab $12.92; $3,191.24 $3,191.24,

§97.5 SF|Replace Masonry Block Wall $14.43} -$8,621.92 $8,621.92:

597.5 SF|Paint / Finish Masonry Block Wall $0.97 $579.57 $579.57

1.0 EA/Remove Prehung Steel Door $44.90 $44.90 $44.90
1.0 EA|Re-install Prehung Stee! Door $31.43 $31.43 $31.43
1.0 EA|Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
4.0 EAIRAR Metal Jamb for Prehung Stee! Door $183.41 $183.41 $183.41
| 1.0 EA/Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EA|R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EAIR/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
1.0 EA'RIR ID Sign on Steel Door $66.38 $68.38 $66.38
247.0 SF|Paint Concrete Slab $0.96: © $237.12 $237.12
1.0 EA/Remove Electrical Services $4,500.00} . $4,500.00 $4,600.00
1.0 EA|Re-install Electrical Services $5,500.00, $5,500.00 $5,500.00:
Totals For Meter Room D $29,965.39 $0.00 ' $29,965.39!
t
Main Grouping: Structures !
Area Name: Stair Tower
Stair TOW! ....ccsserscreeceeeeecesssneaaeanunanereesseseeseneeee 19° 6.0" x 9' 6.0" x 9
 OPOTHIAG -oeee secs eee ree ene snensnssnnasensnrnsncce cies 9' 6.0” x 9' |
Lower Perimeter: 48.50 LF Floor SF: 185.20 SF Wall SF: 436.50 SF
Upper Perimeter. 58.00 LF Floor SY: 20.58 SY Ceiling SF: 185.20 SF
| Quantity ___ Description Unit Cost RCV DEP ACV

436.5 SF/Paint / Finish Masonry Wall & Ceiling $0.97 $423.40 $423.40

185.2 SF!Pressure Wash Area $2.38 $440.78 $440.78

185.2 SFiScrape and Paint Concrete Slab $0.96 $177.79 $177.79

Totals For Stair Tower $4,041.97 $0.00| $1,041.97:

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Forn CEST-1/2.5-SP4

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This is an estimate of recorded damages and Is subject to review and final approval by the insurance carrier.

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Gase 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 9 of 31

INSURED

Mere

: Deb Kurtell Medical Center DATE OF REPORT _ : 12/7/2005 :
{LOCATION :777 37th Street DATE OF LOSS : 9/5/2004
: Vero Beach, FL 32960 POLICY NUMBER -_ : $9021372872004
COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER __ : 0565fla
: .QUR FILE NUMBER: 0565fla
ADJUSTER NAME _ : Rich
-
Main Grouping: Walkways
Area Name: Concrete walkways
Concrete Walkway .:......:.. cc ccececceeeeccecsguennenens 1200 x 4’ x 0"
Lower Perimeter. 2408.00 LF FloorSF: 4800.00 SF Wall SF: 0.00 SF
Upper Perimeter: © 2408.00 LF Floor SY: 533.33 SY Ceiling SF: 4800.00 SF
Quantity Description Unit Cost | —_RCV_ DEP ACV:
100.0 CY 'In-Fill under walks Hand (w/Compaction) $25.95 $2,595.00 $2,595.00
1096.5 LFiScrape and Paint Safety Lines $0.96 $1,052.64 $1,052.64
8166.0 SF/Pressure Wash Walkways $2.38, $19,435.08 $19,435.08
Totals For Concrete walkways. $23,082.72 $0.00] $23,082.72
Main Grouping: Parking .
Area Name: Surface covered parking
Quantity Description Unit Gost! RCV DEP ACV;
91000.0 S/Seal Parking Surface $0.34| $30,940.00 $30,940.00!
2500.0 SF /ReLine parking area $1.24) . $3,100.00 $3,100.00
375.0 LFiStencil & Paint assigned parking $153.56! $57,585.00 $57,585.00
58.0 EA!Paint / Finish Columns $41.32 $2,396.56 $2,396.56
91000.0 S|/Pressure Wash Surface $1.18] $107,360.00 $107,380.00
Totals For Surface covered parking | $201,401.56 $0.00! $201,401.66
Main Grouping: Parking
Area Name: _ Surface Exterior Parking
“Quantity Description Unit Cost | RCV DEP | __ ACV
234670.0 S'Asphalt Seal Coat Paving $0.34! $79,787.80 $79,787.50
25000.0 S/ReLine parking area $1.24| ‘$31,000.00 $31,000.00
234670.0 SiPressure Wash Surface $1.18} $276,910.60 $276,910.60
Totats For Surface Exterior Parking $387,698.40 $0.00! $387,698.40
|
Repair Item Totals - $966,202.73 $366,202.73
General Contractor's Overhead (10.0%) $96,620.27 "$96,620.27
General Contractor's Profit (10.0%) $106,282.30 — $108,282:30
Estimate Totals With ORP $1,169,105.30 $1,169, 105.30
’ Applicable Sales Tax $67,634.19 $67,634.19:
Estimate Grand Totals $1,236,739.49 $1,236,739.49
BUILDING FINAL TOTALS $1,236,739.49 __$1,236,739.49

This is an estimate of recorded damages and is subject to review and final approval by the insurance camer. |

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 10 of 31

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(INSURED DATE OF REPORT: 12/7/2005
[LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004
| : Vero Beach, FL 32960 POLICY NUMBER __; 9902372872004
ICOMPANY — : Fidelity National insurance Company CLAIM NUMBER __ ; 0565fla |
: OUR FILE NUMBER: 0565fla

| ADJUSTER NAME : Rich |

ESTIMATE TOTALS

(ESTIMATE TOTAL PAGE ITEMS RCV | DEP ACV]
Repair Item Totals $966,202.73 $0.00 $966,202.73

General Contractor Overhead (10.0%) $96,620.27 $0.00 $96,620.27

General Contractor Profit (10.0%) $106,282.30 $0.00 $106,282.30

Estimate Totals With O&P $1,169,105.30 $0.00 $1,169,105.30

Applicable Sales Tax $67,634.19 $0.00 $67 634.19

Rate: 7.00% (Includes M,L,E)
Estimate Grand Totals $1,236,739.49 $0.00 $1,236,739.49
[BUILDING FINAL TOTALS $1,236,739.49 | $0.00 _$1,236,739.49|

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 11 of 31

- Deb Kurtell Medical Center

INSURED

LOCATION: 777 37th Street

| : Vero Beach, FL 32960
| COMPANY

to,

: Fidelity National Insurance Company

DATE OF REPORT

DATE OF LOSS : 9/5/2004
POLICY NUMBER - : 99021372872004
CLAIM NUMBER : O565fla

OUR FILE NUMBER: 0565fla
ADJUSTER NAME : Rich

121712005

DETAILED TRADE BREAKDOWN

ome

[TRADE/SUBTRADE CLASSIFICATION RCV! DEP ACV
1.0 GENERAL CONDITIONS $414,577.52 $0.00 $414,577.52
1.2 CLEANING $407,102.80. $0.00 $407,102.80
1.9 TEMPORARY FENCING $6,293.00 $0.00 $6,293.00
1.10 CONTENTS MOVING $1,184.72 $0.00 $1,181.72
2.0  Sif€ WORK $145,241.66 ~ $0.00 $145,241.66
2.1 BUILDING DEMOLITION $28,916.31 $0.00 $28,916.31
22 EXCAVATION / FILL $5,597.55 $0.00 $5,597.55
23 PAVING/ WALKS $110,727.80 $0.00 $110,727.80
3.0 CONCRETE $53,053.75 $0.00 $53,053.75
3.2 FOUNDATIONS / FOOTINGS $6,657.35. $0.00 $6,657.35
36 SLABS $46,396.40 $0.00 $46,396.40
4.0 MASONRY $35,376.77 $0.00 $35,376.77
42 BLOCK $35,376.77 $0.00 $35,376.77
6.0 CARPENTRY $6,450.00 $0.00 $6,450.00
6.11 MISCELLANEOUS CARPENTRY $6,450.00. $0.00 $6,450.00
8.0 DOORS AND WINDOWS $4,305.42. $0.00 $4,305.42
8.1 METAL DOORS $1,933.56 $0.00 $1,933.56
8.10 HARDWARE $2,371.86. $0.00 $2,371.86
9.0 FINISHES $73,804.23 $0.00 $73,804.23
97 — PAINTING/ STAINING $73,804.23: $0.00 $73,804.23
10.0 SPECIALTIES $1,280.10 $0.00 $1,280.10
10.9 MISCELLANEOUS SPECIALTIES $1,280.10 $0.00 $1,280.10
14.0 CONVEYING SYSTEMS $124,246.72 $0.00 $124,246.72
14.2 ELEVATORS $124,246.72 $0.00 $124,246.72
[ * This Is an estimate of recordad damages and is subject to review and final ‘approval by the » insurance carrier. ***_|
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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 12 of 31

NSURED __ : Deb Kurtell Medical Center DATE OF REPORT : 12/7/2005
| LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004
: Vero Beach, FL 32960 POLICY NUMBER —_: 99021372872004

COMPANY : Fidelity National Insurance Company CLAIM NUMBER -_: 0565fla
: OUR FILE NUMBER : 0565fla :
_ADJUSTER NAME . : * Rich”

DETAILED TRADE BREAKDOWN (Continued)

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[TRADE/SUBTRADE CLASSIFICATION Revi DEP ACV:
16.0 ELECTRICAL $47,146.66 $0.00 $47,146.66
16.5 SERVICE PANELS / BOXES $46,000.00 $0.00 $46,000.00

16.9 MISCELLANEOUS DEVICES $1,146.56 : $0.00 $1,146.56

17.0 CONTRACT CLEANING $60,720.00 $0.00 $60,720.00
17.1 CLEANING $60,720.00 | $0.00 $60,720.00

[ALL TRADES TOTAL $966,202.73 | $0,00 $966,202.73 |

| = This is an estimate of recorded damages and is subject ta review and final approval by the insurance ‘carrier. tw |

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 13 of 31

INSURED : Deb Kurtell Medical Center DATE OF REPORT ~ : 12/7/2005
[LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004

; Vero Beach, FL 32960 POLICY NUMBER _ ; 99021372872004
‘COMPANY __ : Fidelity National Insurance Company CLAIM NUMBER : O565fla

: OUR FILE NUMBER_ : 0565fla

| * Rich

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ADJUSTER NAME ©

ESTIMATE SUMMARY TOTALS

AREA/GROUP DESCRIPTION RCV DEP ACV J

Bullding Estimate
'—~ General Conditions $75,417.00 $0.00| $75,417.00
— Elevators $124,246.72 $0.00! $124,246.72
+- Structures $154;356.33 $0.00| $154,356.33
— A Wing Storage Area $3;189.60 $0.00 $3,189.60
— Meter Room A $36,746.50 $0.00] $36,746.50
— Meter Room B $28,478.53 $0.00| $28,478.53
'— Maintainence Room $4,715.62 $0.00 $4,715.62
L~ Center Storage Area $4,057.62 $0.00 $4,057.62
— Stair Tower $898.95 $0.00 $898.95
—~ Elevator Shaft $18,073.49 $0.00} $18,073.49
— Meter Room C $26,264.23 $0.00| $26,264.23
'— Stair Tower $924.43 $0.00 $924.43
— Meter Room D $29;965.39 $0.00; $29,965.39
— Stair Tower $1,041.97 $0.00 $1,041.97
ry Walkways $23,082.72 $0.00; $23,082.72
Concrete walkways $23,082.72 $0.00} $23,082.72
Parking $589,099.96 $0.00} $589,099.96
E Surface covered parking $201,401.56 $0.00| $201,401.56

Surface Exterior Parking $387,698.40 $0.00] $387,698.40]

| ESTIMATE TOTALS: $966,202.73 $0.00| $966,202.73;

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This Is an estimate of recorded damages and /s subject to review and final approval by the insurance carrier.

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Demand for Appraisal Notice
August 8, 2006

Fidelity National Insurance Company
Accordia Southeast Inc.

PO BOX 847

Coconut Grove, FL 33133

Insured: Kurtell Medical Center LLC
Date of Loss: 09/04/2004 i |
Claim NO.: FNIC 1 04 0029391-4 |
Policy NO.: 99-02137287-2004 ii
Location: 777: 37™ Street |

Vero Beach, FL 32960

| oy
To Claims manager: | os

Page Mwon/602

Please be advised that under the terms. and conditions of my

insurance policy we are formally requesting the | appraisal
process. Your contract and policy language appeas

ts to be quite

clear in that “if you and we fail to agree on’ the actual cash
value or, replacement cost of your damaged property to settle
upon the amount of the loss, then either may demand an appraisal

of the loss. Therefore, this certified mailing heeds your
consideration as my demand for appraisal. |

I now. make demand that all undisputed onies, $65, 000.00,

as

determined by the adjuster you assigned, be paid within 14 days

of receipt of this letter. |
i ;

Section VII. General Conditions, page 14, item P of the policy

states: if you and we fail to agree on the actual cash value or, if

applicable, replacement cost of your damaged property ko settle upon the

amount of the loss, then either may demand jan appraisal £ the loss.

In this

event you and we will choose a competent and impartial appraiser within 20
days after receiving a written request from the other.’ The two appraisers
will choose an umpire. If they cannot agree upon an umpite within 15 days,
you or we may request that the choice be made) by a judge of a court of record
in the State where the covered property is located. The appraisers will

separately state the actual cash value and’ ‘joss, or if it. applies, the

replacement cost and loss.

i footy

Bach party will: i
1. Pay its own appraiser; and

2. Bear the other expenses of the appraisal and umpire equally.

Yours truly, ..

durt L. |

/ LYELL, ae, DEBRA A J. COBURN
hee YY if Sif, 7, es MY COMMISSION # DD 226403
Med - Pits rors | EXPIRES: June 25, 2007

Wallach 4-800-3- NOTARY | FL Notary Discount Assoe. Co.
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Case 2:09-cv-14344-KMM Document 1-

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Fidelity National Insurance Company

July 21, 2008

JAMES B OWENS, PA S
PUBLIC INSURANCE ADJUSTER

22 MCGARRY AVENUE

WARWICK, RI 02889

RE = Insured KURTELL MEDICAL CENTER
Clam # FNIC 04-29391
Date/Loss 09/04/04
Policy # 09 2510177411 00

t

Dear Mr Ownes

This will acknowledge receipt of your Proof of Loss in the amount of $64,365 04 for the damages
as a result of the above flood claim which you are making against Fidelity Natonal Insurance

Company

We respectfully advise you that the aforementioned document cannot be accepted under the
terms and conditions of the insurance policy for the following reasons

1 The document 1s deficient in that the totals are unsubstantiated

Please provide Colormal Clans all receipts pertaming to the cleanup and other necessary work
that was required and the Adjuster will review and complete a corrected estimate

Fidelity Natonal Insurance Company neither admits nor denies liability regarding this loss
Please do nat construe this letter or any act on the part of Fidelity National Insurance Company or
itg representatives or agents as a waiver of any nights or defenses to it by contract or law, as all
such nights and defenses are hereby specifically reserved

Very truly yours,

ath. llr.
Cath Ullnch, LPCS

Fidelity Claims Examiner

ce COLONIAL CLAIMS CORPORATION
2200 BAYSHORE BLVD
DUNEDIN, FL 34698

POLICY INFORMATION PO BOX 33003/ST PEYERSBURG, FL 33733-8003 1-800-820-3242
CLAIMS PO BOX 33064/ST PETERSBURG, FL 33733-8064 1-800-725-9472
CLAIMS FAX 1-877-270-4329

Exhibit “E

3 Entered on FLSD Docket 10/07/2009 Page 15 of 31
Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 16 of 31

Fidelity National Insurance Company

January 20, 2009 Rejection of Appraisal

Mr. James B. Owens
1362 West Shore Road
Warwick, RI 02889

RE: Claim #: 04 29391
Insured: Kurtell Medical Center
Date/Loss: 9/4/04
Policy #: 09-2510177411

Dear Mr. Owens:

This will acknowledge receipt of your letter dated November 19, 2008 demanding Appraisal
The letter does not indicate what areas or issues are in dispute; consequently, until such time you
clarify the issues in dispute, the request for Appraisal is rejected.

Our denial of this claim effective October 10, 2008 is maintained. In the event you choose to
contest Fidelity’s determination in this matter, please refer to Page 8 of the Flood Insurance
Claims Handbook previously provided to you by your Adjuster. The Handbook provides guidance
how to file a written appeal with the National Flood Insurance Program. If you can not locate your
Handbook, please contact our office

In accordance with VIl. GENERAL CONDITIONS, R. Suit Against Us, should you wish
to challenge Fidelity National Property and Casualty Insurance Company’s position in this
matter, you must file a lawsuit within 12 months of the denial of claim letter, and your
lawsuit must be filed in federal court. Also please see Page 17 of 18 of your National

Flood Policy:
IX. What Law Governs

This policy and all disputes arising from the handling of any claim under the policy are
governed exclusively by the flood insurance regulations issued by FEMA, the National
Flood Insurance Act of 1968, as amended (42 U.S.C. 4001, et seq.), and Federal

common law.

POLICY INFORMATION: P.O.BOX 33003/ST. PETERSBURG, FL 33733-8003 1-800-820-3242
CLAIMS: P.O.BOX 33064/ST. PETERSBURG, FL 33733-8064 1-800-725-9472
CLAIMS FAX: 1-877-270-4329

Exhibit “F”
Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 17 of 31

Fidelity National Insurance Company

We reserve all of our rights under said policies and do not waive any of our rights under
said policy or policies.

Sincerely

IT”
sta Sutherland

Fidelity Claims Examiner
800 725 9472 ext 6378

POLICY INFORMATION: P.O.BOX 33003/ST. PETERSBURG, FL 33733-8003 1-800-820-3242
CLAIMS: P.O.BOX 33064/ST. PETERSBURG, FL 33733-8064 1-800-725-9472

CLAIMS FAX: 1-877-270-4329
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Send A Fax

CONFIRMATION

Account Overview

Fax Sent To: 18772704329

Profile
Recipient's Steve Southerland ~ @o0-725-2472 KX G37G Activity Loas
Name: Preferences
Billing

Recipient's __ Fidelity
Company:
Reference Claim # 04-29391 © Send A Fax

ID: Add A Number

Fax Quality: Fine
eFax Message Center

Subject: Kurtell Medical Center

ee 78S

Cover Steve, Attached please find the differences you have requested.

Page: Please note the items that are circled need to be addressed. Please > Send i
call me at 877-840-2623. Thank you, Anthony Contillo James B. Send your colleagues your
Owens PIA, LLC

eFax number,

> Add_your eFax Number to
your email signature.

Fidelity appraisal response letter.doc 79362 bytes @Sent

" Kurtell Medical items needed.doc 4046338 bytes G@sent

& Print_this page

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EXHIBIT “G”

of 1 . 2/24/2009 10:50 AM
Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 19 of 31

INSURED _; Deb Kurtell Medical Center DATE OF REPORT _ ; 12/7/2005

[LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004

; Vero Beach, FL 32960 POLICY NUMBER + 99021372872004

| COMPANY : Fidelity National Insurance Company CLAIM NUMBER : O565fla |

: OUR FILE NUMBER; 0565fla

t : ADJUSTER NAME _ : Rich

area! Name: General Conditions ft

Quantity Description XA ___| Unit Cost RCV DEP ACV |

1.0 EAjJob Permit, subject to local authorities $0.00 $0.00 $0.00!

400.0 HR|Additional Labor Hours for Demolition $25.78 $2,578.00 $2,578.00

80.0 HR|Construction Clean-up $26.78] © $2,062.40 $2,062.40

8.0 EA/Dumpster Rental $470.45 $3,763.60 $3,763.60

3100.0 LF|Security Fencing Temporary Utilities $2.03 $6,293.00 $6,293.00

92000.0 S|Water Loss Clean Up $0.66| $60,720.00 $60,720.00!

KK. Totals For General Conditions $75,417.00 '$0,00] $75,417.00!

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|

Area Name: Elevators i

ELSVEOrS os ceeesssnsccccoyececcessseereesnensreveeansnssnerenee 46" x 18" 5.0" x 22"

Lower Perimeter, 68.80 LF Floor SF: 294.70 SF. Wall SF: 1514.50 SF

Upper Perimeter 68.80 LF Floor SY: . 32.74SY Ceiling SF: 294.70 SF

Quantity Description =. Unit Cost | = —-RCV pEP ACV 4

1.0 EA|Repair Elevator [Inspection & Temporary $9,890.73} $9,890.73 $9,890.73;

1.0 EA|R/R 2 Stop Commercial Elevator $66,128.87| $66,128.87 $66,128.87;

1.0 EAi/Remove 2 Stop Commercial Elevator $13,227.12} -$13,227.12 $13,227.12:

1.0 EA|Re-install 2 Stop Commercial Elevator $35,000.00) $35,000.00 $35,000.00:

Totals For Elevators} $124,246.72 $0.00{ $124,246.72

_ — i”

Main Grouping: Structures

Area Name: A Wing Storage Area |

A Wing Storage Area .......ccsreneree censeventennesnnes 40! x 20° 6.0" x 10°

Lower Perimeter. 121.00 LF Floor SF: 820.00 SF WallSF; 1210.00 SF
Upper Perimeter. 121.00 LF Floor SY: 91.11 SY Ceiling SF: 820.00 SF

Quantity Description Unit Cost RCV DEP | ACV

aint / Finish Masonry Block Wall $0.97; © $1,173.70 $1,173.70

$31.43 $31.43 $31.43

Paint / Finish Prehung Steet Door $34.21 $34.21 $34.21

Remove Prehung Steel Door $44.90 $44.90 $44.90

R/R Metal Jamb for Prehung Stee! Door $183.41 $183.41 $183.41

Paint / Finish Metal Jamb for Prahung Steet Door $13.97 $13.97 $13.97

R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06

RVR Lever Handle for Prehung Stee! Door $144.48 $144.48 $144.48

RIR ID Sign on Steel Door $66.38 $66.38 $66.38

Paint Concrete Stat — $0.96 $787.20 $787.20

Move/Reset Contents $590.86 $590.86 $590.86

L Totals For A Wing Storage Area | $3,189.60 $0.00/ $3,189.60

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 20 of 31

INSURED _: Deb Kurfell Medical Center

DATE OF REPORT

* 12/7/2005

{LOCATION  : 777 37th Street DATE OF LOSS _ 1 81572004
| : Vero Beach, FL 32960 POLICY NUMBER _— : 99021372872004
ICOMPANY __: Fidelity National Insurance Company CLAIM NUMBER _ ;: 0565fla
OUR FILE NUMBER: 0565fla
| ADJUSTER NAME — : Rich
Main Grouping: Structures
Aréa Name: Meter Room A
Meter ROOM'A .......-----0- upssnesueseonanceevansensenests 42° x 20' 7.0" x 9' 6,0"
Lower Perimeter: 65.20 LF Floor SF: 247.00 SF Wall SF: 619,00 SF
Upper Perimeter. 65.20 LF Floor SY: 27.44 SY "Ceiling SF: 247.00 SF
Quantity —__ Description Unit Cost; — RCV DEP ACV
$21.4 SF|Demo Masonry Walls $4.69} $4,321.37 $4,321.37:
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.
Cost includes demolition of one story masonry
biock or brick building, including hauting of
debris but no dump fees.

247.0 SF!Demo Concrete Slab $1.67; . $412.49 $412.49
65.2 LF|R/R Concrete Footing $21.26) $1,386.15 $1,386.15
65.2 SF|Base Course of crushed stone 12” $2.16 $140.83 $140.83

390.0 SF/Grade Area wiexisting materials $0.69 $269.10 $269.10
12.0 CY|Back Fill $13.98 $167.76 $167.76

247.0 SFiReplace Concrete Slab $12.92! - $3,191.24 $3,191.24

SF Masonry Block $14.43 $8,932.17 $8,932.17

619.0 SF)Paint / Finish Masonry Block Wall $0.97 $600.43 $600.43

.O EA'Remove Prehung Stéel Door $44.90 $44.90 $44.90
1.0 EA|Re-install Prehung Stee! Door $31.43 $31.43 $31.43
1.0 EA|Paint / Finish Prahung Steel Door $34.21 $34.21 $34.21
1.0 EAIR/R Metal Jampb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metat Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EAJR/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
1.0 EAIR/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
1.0 EA:R/R ID Sign on Steel Door $66.38 $66.38 $66.38
247.0 SF n ete Siad $0.96 $237.12 $237.12
1.0 FAi/Remove Electrical Services ~ $4,500.00, . $4,500.00 $4,500.00
1.0 EA)Re-install Electrical Services $5,500.00 $5,500.00 $5,500.00
| 500.0 SF/Temporary Bracing upper shafts $12.90 $6,450.00 $6,450.00
— ‘For Meter Room A [$36,746.60 $0.00[ $36,746.50
Matn Grouping: Structures
Area Name: Moter Room B
Meter ROOM B csccccsssccssssesssssenssseceeccessssnssnennce 97.0" X20! 7.0" x 9° 3.0" .
Lower Perimeter. 60.30 LF Floor SF: 197.20 SF _ Wall SF: 558.00 SF
Upper Perimeter: 60.30 LF Floor SY: 21.91 SY _ Ceiling SF: 197.20 SF
|
Quantity | . Description Unit Cost|____ RCV | ___DEP ACV
[mee This is an estimate of recorded damaqes and is subject to review and final approval by the insurance carrier. sow |
Form CEST-A2.5-SP4 Page: 2
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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 21 of 31

INSURED : Deb Kurtell Medical Center DATE OF REPORT + 12/7/2005 :
LOCATION :777 37th Street DATE OF LOSS : 9/5/2004

: Vero Beach, FL 32960 POLICY NUMBER : 99021372872004 i
COMPANY _— : Fidelity National Insurance Company CLAIM NUMBER : 0565fla

: OUR FILE NUMBER: 0585fla t
| ADJUSTER NAME _ : Rich
Structures ; Meter Room B - continued... | 3

Quantity Description _.__Unit Gost | = RCV DEP ACV ___
921.4 SFi|Demo Masonry Walls $4.69| $4,321.37 $4,321.37

Cost includes demolition of one story masonry

block of brick building, including hauling of

debris but no dump fees.

Cost includes demolition of one story masonry

block or brick building, including hauling of

debris but no dump fees.

197.2 SF|\Demo Concrete Slab $1.67: © $329.32 $329.32
60.3 LF'R/R Concrete Footing $21.26] $1,281.98 $1,281.98}
65.2 SF\Base Course of crushed stone 12” $2.16 $140.83 $140.83!

390.0 SFiGrade Area w/existing materials $0.69 $269.10 $269. 40:
12.0 CY! Back Fill 313.98 $167.76 $167.76;

197.2 SF!Replace Concrete Siab $12.92: — $2,547.82 $2,547.82

558.0 SF|Replace Masonry Block Wall $14.43| $6,051.94 $8,051.94

558.0 SFiPaint / Finish Masonry Block wat $0.97 $541.26 $541.26

1.0 EA\Remove Prehung $44.90 $44.90 $44.90
ox Reinstall Prehung Steel Door $31.43 $31.43 $31.43
1.0 EA|Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
1.0 EAIRJR Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EA|RAR Deadbolt (Heavy Duty) for Prehung Steel Door 3119.06 $119.06 $119.06
4.0 EA|RJR Lever Handle for Prehung Stee! Door $144.48 $144.48 $144.48
1.0 EAJRIR ID Sign on Steel Door $66.38 $66.38 $66.38
197.2 SFiPaint Concrete Slab $0.96 $189.31 $189.31
1.0 EAiRemove Electrical Services $4,500.00 $4,500.00 $4,500.00
\ 1.0 EA|Re-install Electrical Services $5,500.00; . $5,500.00 $5,600.00
_——— _w2f0tals For Meter Room B $28,478.53 $0.00] $28,478.53
Main Grouping: Structures
Area Name: Maintainence Room
Maintainence ROOM ......:...-.0.0-le ss seetsassanseesenneres 13° x 24' x 9
© Sforage ROOM oo... -scscssssetessensscseecseeseenssenerecse 17' 6.0" x 13’ 6.0" x 9"
Lower Perimeter: 109.00 LF Floor SF: 5A8.20 SF Wall SF: 981.00 SF
Upper Perimeter. 109.00 LF Floor SY: 60.91 SY ’ Ceiling SF: 548.20 SF
Quantity Description | Unit Cost | . RCV DEP. ACV
L $590.86 $590.86 $590.86
34.0 EAlRemove Commercial Steel Shelving $14.96 $508.64 $508.64
34.0 EA{Re-install Commercial Steel Shelving $37.65 $1,280.10 $1,280.10)
eiking $0.97 $951.57 $951.57
54 Seal & Paint / Finish Concrete Slab $0.97 $531.75 $531.75
4.0 EAiRe-install Prehung Steel Door $31.43 $31.43 $31.43:
1.0 EA|Paint / Finish Prehung Steel_ Door $34.21 $34.21 $34.21:
~~
[=*__This is an eatimate of recorded damages and is subject to review and final approval by the inursnce carrier. "|
Form CEST-1:2.5-3P4 Page: 3
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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 22 of 31

lINSURED : Deb Kurtell Medical Center DATE OF REPORT _ : 12/7/2005
|LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004
: : Vero Beach, FL 32960 POLICY NUMBER 7 99021372872004 i
{COMPANY — : Fidelity National Insurance Company CLAIM NUMBER — : 0565fla
: OUR FILE NUMBER: 0565fla '
ADJUSTER NAME. : Rich
Structures : Maintainence Room - continued... { :
| Quantity . Description Unit Cost | | RCV DEP ACV
1.0 EA|Remove Prehung Steel Door $44.90 $44.90 $44.90
tal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metal Jamb for Prehung Stee! Door $13.97 $13.97 $13.97
4.0 EA|R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06
4.0 EA/R/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48!
1.0 EA|R/R Exit Sign over Prehung Stee! Door $136.38 $136.38 $136.38)
\Q 1.0 EA!Paint / Finish Roll-up Garage Door $144.86 $144.86 $144.86
“— _fotals For Maintainence Room | $4,715.62 $0.00]. $4,715.62!
Main Grouping: Structures”
Area Name: Center Storage Area
Center Stotage Ared —.......csssesncce ce srenenssaens 74 x21'x7'
Lower Perimeter: 190.00 LF Floor SF: 1554.00 SF Wall SF: 1330.00 SF
Upper Perimeter. 490.00 LF Floor SY: 172.67 SY Ceiling SF: 1554.00 SF
Quantity Description Unit Cost | . RCV DEP AGV
1330.0 SFiPaint / Finish Masonry Block Wall $0.97; © $1,290.10 $1,290.10:
2.0 EA $31.43 $62.86 $62.86!
2.0 EA|Paint / Finish Prehung Steel Door $34.21 $68.42 $68.42
/ 2.0 EAiRemove Prehung Steel Door $44.90 $89.80 $89.80
2.0 EA'R/R Metal Jamb for Prehung Steel Door $183.41 $386.82 $366.82
2.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door ' $13.97 $27.94 $27.94
2.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $238.12 $238.12
2.0 EAIRVR Lever Handle for Prehung Steel Door $144.48 $288.96 $288.96
2.0 EAIR/R ID Sign on Steel Door $66.38 $132.76 $132.76
1554.08 int Concrete Slab $0.96 $1,491.84 $1,491.84
Totals For Center Storage Area | $4,057.62 $0.00| $4,057.62!
Main Grouping: Structures
Area Name: Stalr Tower
Stair TOWEL ....csssecsseeescccssseeenccneresoredetssseentseveceees 17" B,0* K 10° 8.0" x 9
Opening ...1.-ccceesseeecessteeeenetenteseeeees aecreeereeee 10° 8,0" X 9!
Lower Perimeter. 45.70 LF Floor SF: 186.70 SF Wall SF: 411.00 SF
Upper Perimeter: 56.30 LF Floor SY: 20.74 SY Ceiling SF: 186.70 SF
Quantity ______ Description Unit Cost RCV._| DEP ACV _|
186.7 SF|Pressure Wash Area $2.38 $444.35 $444.35
411.0 SF|Paint / Finish Masonry Block Wall $0.67 $275.37 $275.37
“7 SFlScrape and Paint Coricréte S $0.96 $179.23 $179.23
“ Totals For Stair Tower | $898.95 $0.00 $898.95:

[-= This Is an estimate of recorded damages and is subject to review and final approval by the insurance carrier.

Form CEST-4/2.5-SP4 Page: 4

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 23 of 31
INSURED  : Deb Kurtell Medical Center

DATE OF REPORT : 12/7/2005
tLOCATION =: 777 37th Street DATE OFLOSS —_ : 9/5/2004
| : Vero Beach, FL 32960 POLICY NUMBER -. : 99021372872004
\COMPANY _ : Fidelity National Insurance Campany CLAIM NUMBER : 0565fla
: OUR FILE NUMBER: 0565fla
| : ADJUSTER NAME _— : Rich
Main Grouping: Structures
Area Nam: - Elevator Shaft
Elevator Shaft .....-..-ccccscssssseseeees veescessetesseeenvssee 16’ x 18' 5.0" x 24'
Lower i f F Floor SF: 294.70 SF Wail SF: 1652.20 SF
Upper Penmeter—_6B.80LF—~_ Floor SY: 32.74 SY Ceiling SF: -294:70 SF
Quantity Description Unit Cost | | RCV DEP ACV
754.0 SF|Demo Masonry Building $3.69) © $2,782.26 $2,782.26
294.7 SFiDemo Concrete Slab $1.67 $492.15 $492.15
68.8 LFIR/R Concrete Footing $14.24 $979.71 $979.71
{ 136.0 SFiCrushed Stone $2.16 $293.76 $293.76.
i 294.7 SF\Grade and Fill (2') $0.69 $203.34 $203.34!
12.0 CY'Back Fill $13.98, | $167.76 $167.76:
294.7 SF/Replace Concrete Stab $3.92} . $1,155.22 $1,185.22:
754.0 SF|Replace Masonry Biock Wall $5.43 $4,094.22 $4,094.22!
764.0 SFiPaint / Finish Masonry Block Wall $0.67| $505.18 $505.18!
1.0 EAiRemove Prehung Stee! Door $44.90 $44.90 $44.90
1.0 EA|Re-install Prehung Steel Door $31.43 $31.43 $31.43
1.0 EA;Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
1.0 EA'FVR Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
1.0 EA|Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
1.0 EAIR/R Deadbolt (Heavy Duty) for Prehung Steel Door, $119.06 $119.06 $119.06
1.0 EA|R/R Lever Handle for Prehung Stee! Door $144.48 $144.48 $144.48
4.0 EAIRJR Signage $136.38 $545.52 $545.52
294.7 SF|Paint Concrete Slab $0.96 $282.91 $282.91
1.0 EA/Remove Electric Service $2,500.00) $2,500.00 $2,500.00
1.0 EA|Re-install Electric Service $3,500.00 $3,500.00 $3,500.00
oe _“Totajs-F6r Elevator Shaft | [$18,073.49|.- $0,001. . $18,073.49)
Main Grouping: Structures |
Aroa Name: Metar Room C
Meter ROO C uu...cccscsccccecessssnrescsessnsesssnnsveerees 12° x AZ’ x 9 2.0" i
— OFSOE .ocecccceccesecscserssctccsessessnspeneecscssesstnereees BX 20" X OF 2.0"
Lower Perimeter. 114.00 LF Floor SF: 564.00 SF Wall SF: 1045.40 SF
Upper Perimeter: 414.00 LF Floor SY; 62.67 SY Ceiling SF: 564.00 SF
Quantity Description Unit Cost RCV DEP ACV
901.7 SFi/Demo Masonry Building $3.69 $3,327.27 $3,327.27
564.0 SF/Demo Concrete Slab $1.67| $941.88 $941.88
414.0 LFIR/R Concrete Footing $14.24 $1,623.36 $1,623.36
390.0 SF/Crushed Stone $0.69 $269.10 $269.10
24.0 CY |Back Fill $13.98] $335.52 $335.52}
564.0 SF/Replace Concrete Slab $3.92 $2,210.88 $2,210.88

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Form CEST-4/2.6-SF4

Page: 5

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Case 2:09-Cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 24 of 31

INSURED : Deb Kurtell Medical Center DATE OF REPORT ; 12/7/2005
LOCATION  :777 37th Street DATE OF LOSS : 975/2004
: Vero Beach, FL 32960 POLICY NUMBER : 99021372872004
COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : OS65fla
: OUR FILE NUMBER  : 0565fla
| ADJUSTER NAME. : Rich
Structures : Meter Room C - continued... i
Quantity Description. 1 Unit Cost RCV __.DEP ACV
1045.4 SF|Replace Masonry Block Wall $5.43| - $5,676.52 $5,876.52)
1045.4 SF|Paint / Finish Masonry Block Wall $0.67 $700.42 $700.42
: Remove Prehung Steel Door $44.90 $44.90 $44.90
1.0 EA/Re-install Prehung Steel Door $31.43 $31.43 $31.43;
1.0 EA'Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
R/R Metal Jamb for Prehung Stee! Door $183.41 $183.41 $183.41
Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97:
R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06 $119.06 $119.06)
R/R Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
ID on Steel Doar $66.38 $66.38 $66.38
Pamt Concrete Slab $0.96 $541.44 $541.44
Remove Electrical Servi $4,500.00 $4,500.00 $4,500.00
Reinstall Electrical Service $5,500.00 $5,500.00 $5,500.00:
otals For Meter Room C [$26,264.23] $0.00! $26,264.23!
[Main Grouping: Structures
Area Name: Stair Tower
Stair TOWED oo. scsceseneneterieerecenseeeecreteceanes 49° x 9 6.0" x 9
OPENING oo... sececsessssseesensenceccoeecestgeeceeeeeneets 10° 8.0" x9"
OPONNG --.....-.--ecceesescceseneennerernee sn seeeeneereeeses 9' 6.0" x 9"
\Lower Perimeter. 36.80 LF Floor SF: 180.50 SF Wall SF: 331.50 SF
Upper Perimeter: 57.00 LF Floor SY: 20.06 SY Ceiling SF: 180.50 SF
Quantity . Description Unit Cost RCV DEP ACV
331.5 SF/Paint / Finish Masonry Wall & Ceiling $0.97 $321.56 $321.56
180.5 SFiPressure Wash Area $2.38 $429.59 $429.59
180.5 SF |Scrape and Paint Concrete Slab $0.96: $173.28 $173.28
___ _Totals For Stalr Tower | $924.43 $0.00 $924.43
Main Grouping: Structures
Area Narns: Meter Room D
Meter Room D ....--c-sccssscssccssesvesessencnvesessarseceeee: 12' x 20' 7.0" x 9° 2.0"
Lower Perimeter, 65.20 LF Floor SF: 247.00 SF Wall SF: 597.50 SF
Upper Perimeter: 65.20 LF Floor SY: 27.44 SY Ceiling SF: 247.00 SF
Quantity | ‘Oescription [Unit Cost] Rev. [DEP] ACV
| ** This is an estimate of recorded damages and is subject to review and final approval by the insurance carrier, __*** j
Form CEST-4/2.5-8P4 Page: 6
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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 25 of 31

INSURED _: Deb Kurtell Medical Center DATE OF REPORT _ : 12/7/2005
{LOCATION =: 777 37th Street DATE OF LOSS : 9/5/2004
| : Vero Beach, FL 32960 POLICY NUMBER _ : 99021372872004
'GOMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : O565fla
OUR FILE NUMBER: 0565fla
| : ADJUSTER NAME — : Rich
Structures : Meter Room D - continued... | 4
| Quantity Description oan | Unit Cost RCV ____DEP ACV
921.4 SF/Demo Masonry Walls $4.69} $4,321.37 $4,321.37
Cost includes demolition of one story masonry
block or brick building, Including hauling of
debris but no dump fees.
Cost includes demolition of one story masonry
block or brick building, including hauling of
debris but no dump fees.
247.0 SFiDemo Concrete Slab $1.67 $412.49 $412.49
65.2 LF|R/R Concrete Footing $21.26, $1,386.15 $1,386.15
65.2 SF|/Base Course of crushed stone 12" $2.16 $140.83 $140.83
390.0 SF|Grade Area wiexisting materials $0.69 $269.10 $269.10:
12.0 CY Back Fill ‘ $13.98; © $167.76 $167.76;
247.0 SFiReplace Concrete Slab $12.92; $3,191.24 $3,191.24,
§97.5 SFiReplace Masonry Block Wall $14.43) $8,621.92 $8,621.92:
597.5 SF|Paint / Finish Masonry Block Wall $0.97 $579.57 $579.67;
emove Prehung Steei Door $44.90 $44.90 $44.90:
Re-install Prehung Stee) Door $31.43! = $31.43 $31.43
Paint / Finish Prehung Steel Door $34.21 $34.21 $34.21
FUR Metal Jamb for Prehung Steel Door $183.41 $183.41 $183.41
Paint / Finish Metal Jamb for Prehung Steel Door $13.97 $13.97 $13.97
R/R Deadbolt (Heavy Duty) for Prehung Steel Door $119.06] $119.06 $119.06
RVR Lever Handle for Prehung Steel Door $144.48 $144.48 $144.48
RIR ID Sign on Steel Door $66.38 $66.38 $66.38
Pain $0.96 - $237.12 $237.12
Remove ervices $4,500.00} . $4,500.00 $4,500.00
Re-install Electrical Services $5,500.00, $5,500.00 $5,500.00:
—Tofale For Meter Room D $29,965.39 $0.00)" $29,965.39}
Main Grouping: Structures
Area Name: Stair Tower
Stair TOWER «0. ese. sesseesesnnannesennnnesnreyeseeseesetees 19' 6.0" x 9' 6.0" x 9
" Opening -.........cccesscenseeceseccrsesseenaenenttrpescseecce 9' 6.0” x 9’
Lower Perimater: 48.50 LF Floor SF: 185.20 SF Wall SF: 436.50 SF
Upper Perimeter. 58.00 LF Floor SY: 20.58 SY Ceiling SF: 185.20 SF
Quantity / ___ Description Unit Cost RCV; ___DEP ACV:
aint / Fini all & Ceiling $0.97 $423.40 $423.40
( 185.2 SF|Pressure Wash Area $2.38 $440.78 $440.78
2 aint Concrete Slab $0.96, . $177.79 $177.79
Totals For Stair Towar | $1,041.97 $0.00 $1,041.97

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‘| ** This is an estimate of recorded, damages and Is subject to review and final approval by the insurance carrier, _““ 4

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Form CEST-1/2.5-SP4 Page: 7

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 26 of 31

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Meerew

: Deb Kurtell Medical Center DATE OF REPORT  : 12/7/2005
LOCATION :777 37th Street DATE OF LOSS : 9/5/2004
: Vero Beach, FL 32960 POLICY NUMBER -_ : 99021372872004
COMPANY _ : Fidelity National Insurance Company CLAIM NUMBER : 0565fia t
: _QUR FILE NUMBER: 0565fla
ADJUSTER NAME __ ;: Rich
Ln. -
° i
Main Grouping: Walkways
Area Name: Concrote walkways
Comeretea Walkways .....cccicccsccecccentcscecuteeetenens 1200! x 4' x 0
Lower Perimeter. 2408.00 LF Floor SF: 4800.00 SF Wall SF: 0.00 SF
Upper Perimeter. | 2408.00 LF Floor SY: 533.33 SY Ceiling SF: 4800.00 SF
Quantity Description Unit Cost | — RCV DEP | AcV |
100.0 CY|In-Fill under walks Hand (w/Compaction) $25.95! $2,595.00 $2,595.00
1096.5 LF!Scrape and Paint S ines $0.96, $1,052.64 $1,052.64
8166.0 SF|Pressure Wash Walkways $2.38, $19,435.08 $19,435.08
“Totals For Concrete walkways $23,082.72 $0.00; $23,082.72
Main Grouping: Parking: ~
Area Name: Surface covered parking -
Quantity Description Unit Cost! RCV DEP. ACV;
91000.0 S|Seal Parking Surface $0.34) $30,940.00 $30,940.00!
2500.0 SF/ReLine parking area $1.24] | $3,100.00 $3,100.00
375.0 LF {Stencil & Paint assigned parking $153.56! $57,585.00 $57,585.00
§8.0 EA!Paint / Finish Column $41,321 $2,396.56 $2,306.56
-91000.0 SiPressure Wash Surface $1.18] $107,380.00 $107,380.00
Totals For Surface covered parkin $201,401.56 $0.00| $201,401.66
Main Grouping:
Area Name: — Surface Exterior Parking -
Quantity Description Unit Cost | __ RCV DEP | ACV
234670.0 S'Asphalt Seal Coat Paving $0.34! $79,787.80 $79,787.80
25000,0 S|RelLi ing area $1.24| °$31,000.00 $31,000.00
((234670.0 SiPressure Wash Surface » $1.18} $276,910.60 $276,910.60
Totals For Surface Extarior Parking $387,698.40 ~$0.00|_ $387,698.40
Repair item Totals 5966, 202.73 $266,202.73
General Contractor's Overhead (10.0%) $96,620.27 $96,620.27
General Contractor's Profit (10.0%) $106,282.30 _ $106,262:30
Estimate Totals With OHP $11169,105.30 $1,169,105.30
' Applicable Sales Tax $67,634.19 $67,634.19
Estimate Grand Totals $1,236,739.49 $1,236,739.49
. BUILDING FINAL TOTALS $1,236,730.49 $1,236,739.49

{|  _ This is en estimate of recorded damages and Is subject to review ard final approval by the insurance carter. __***_|

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 27 of 31

James B. Owens, public insurance adjuster
22 McGarry Avenue
Wamick, RI 02889 .
toll free: 877-840-2623 fax: 401-463-9444 E-fax: 401-633-7711

BUILDING ESTIMATE

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[= This fs an estimate of recorded damages and is subject to review and final approval by the insurance carrier. ij
Form EST-1/2.6-5P4 Cover Page

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Case 2:09-cv- 14344- KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 28 of Si

INSURED : Deb Kurtell Medical Center DATE OF REPORT : 42/7/2005
[LOCATION : 777 37th Street DATE OF LOSS : 9/5/2004

i : Vero Beach, FL 32960 POLICY NUMBER ~: 99021372872004

ICOMPANY _ : Fidelity National Insurance Company CLAIM NUMBER ; O565fla

: OUR FILE NUMBER: 0565fla
| : ADJUSTER NAME ~ : Rich

ESTIMATE TOTALS

[ESTIMATE TOTAL PAGE ITEMS RCV DEP ACV]
Repair Item Totals $966,202.73 $0.00 $966,202.73
General Cantractor Overhead (10.0%) $96,620.27 $0.00 $96,620.27
General Contractor Profit (10.0%) $106,282.30 $0.00 $106,282.30
Estimate Totals With O&P $1,169,105.30 $0.00  $1,169,105.30
Applicable Sales Tax $67 634,19 $0.00 $67,634.19
Rate: 7.00% (Includes M,L,E)

Estimate Grand Totals $1,236,739.49 $0.00 $1.236,739.49
[BUILDING FINAL TOTALS $1,236,739.49 | $0.00 _$1,236,739.49|

| *___ This is an estimate of recortied damages and is subject to review and final approval by the Insurance carrier. _***
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Form E5T-12.65P4 Total Page

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Case 2:09-cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 29 of 31

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INSURED
‘LOCATION

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| COMPANY

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Woe,

: Deb Kurtell Medical Center

: 777 37th Street

: Vero Beach, FL 32960

: Fidelity National Insurance Company

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DATE OF REPORT _ : 12/7/2005

DATE OF LOSS : 9/5/2004
POLICY NUMBER -_ : 99021372872004
CLAIM NUMBER : O565fla

OUR FILE NUMBER : 0565fla
ADJUSTER NAME : Rich

DETAILED TRADE BREAKDOWN

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| TRADE/SUBTRADE CLASSIFICATION

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RCY | DEP ACV:
1.0 GENERAL CONDITIONS $414,577.52 $0.00 $414,577.52
1.2 CLEANING $407,102.80. $0.00 $407,102.80
1.9 TEMPORARY FENCING $6,293.00 $0.00 $6,293.00
1.10 CONTENTS MOVING $1,181.72 $0.00 $1,181.72
2.0 SITE WORK $145,241.66 $0.00 $145,241.66
2.1 BUILDING DEMOLITION $28,916.31 $0.00 $28,916.31
22 EXCAVATION / FILL $5,597.55 ° $0.00 $5,597.55
2.3 PAVING / WALKS $110,727.80 $0.00 $110,727.80
3.0 CONCRETE $53,053.75 $0.00 $53,053.75
3.2 FOUNDATIONS / FOOTINGS $6,657.35 $0.00 $6,657.35
3.6 SLABS $46,396.40 $0.00 $46,396.40
4.0 MASONRY $35,376.77 $0.00 $35,376.77
4.2 BLOCK $35,376.77 $0.00 $35,376.77
6.0 CARPENTRY $6,450.00 $0.00 $6,450.00
6.11 MISCELLANEOUS CARPENTRY $6,450.00. $0.00 $6,450.00
8.0 DOORS AND WINDOWS $4,305.42. $0.00 $4,305.42
8.1 METAL DOORS $1,933.56 $0.00 $1,933.56
8.10 HARDWARE $2,371.86. $0.00 $2,371.86
9.0 FINISHES $73,804.23 $0.00 $73,804.23
9.7 PAINTING / STAINING $73,804.23: $0.00 $73,604.23
40.0 SPECIALTIES $1,280.10 $0.00 $1,280.10
10.9 MISCELLANEOUS SPECIALTIES $1,280.10 $0.00 $1,280.10
140 CONVEYING SYSTEMS $124,246.72 $0.00 $124,246.72
14.2 ELEVATORS $124,246.72 $0.00 $124,246.72
| Thisisan estimate of recorded damages and is subject to review and final ‘approval by the insurance carer. = |
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Case 2:09-Cv-14344-KMM Document 1-3 Entered on FLSD Docket 10/07/2009 Page 30 of 31

HNSURED _: Deb Kurtell Medical Genter DATE OF REPORT; 12/7/2005
|LOCATION : 777 37th Street DATEOFLOSS _: 9/5/2004

: Vero Beach, FL 32960 POLICY NUMBER —__: 99021372872004
COMPANY : Fidelity National Insurance Company CLAIM NUMBER - : 0565fla

OUR FILE NUMBER: 0565fla
_ADJUSTER NAME . : * Rich -

DETAILED TRADE BREAKDOWN (Continued)

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[TRADE/SUBTRADE CLASSIFICATION Rev | DEP ACV:
16.0 ELECTRICAL $47,146.66 $0.00 $47,148.56
16.5 | SERVICE PANELS / BOXES $46,000.00 $0.00 $46,000.00

16.9 MISCELLANEOUS DEVICES $1,146.56 : $0.00 $1,146.56

17.6 CONTRACT CLEANING $60,720.00 $0.00 $60,720.00
17.1 CLEANING $60,720.00 | $0.00 $60,720.00

[ALL TRADES TOTAL $966,202.73! $0.00 $966,202.73 |

= This is an estimate of recorded damages and is subject ta review and final approval by the Insurance carrier. tw |

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INSURED : Deb Kurtell Medical Center
LOCATION: 777 37th Street

; Vero Beach, FL 32960
COMPANY _ : Fidelity National Insurance Company

DATE OF REPORT : 12/7/2005

DATE OF LOSS : 9/5/2004
POLICY NUMBER __ : 98021372872004
CLAIM NUMBER : O565fla
OUR FILE NUMBER: 0565fla
ADJUSTER NAME ~ : Rich

ESTIMATE SUMMARY TOTALS

AREA/GROUP DESCRIPTION RCV DEP ACV |
Building Estimate |
t— General Conditions $75,417.00 $0.00! $75,417.00
t— Elevators $124(246.72 $0.00| $124,246.72
+- Structures $154:356.33 $0.00| $154,356.33

+— A Wing Storage Area $3,189.60 $0.00 $3,189.60
— Meter Room A $36,746.50 $0.00] $38,746.50
t+ Meter Room B $28,478.53 $0.00| $28,478.53
-— Maintainence Room $4,715.62 $0.00 $4,715.62
I~ Center Storage Area $4,057.62 $0.00 $4,057.62
— Stair Tower $898.95 $0.00 $898.95
+ Elevator Shaft $18,073.49 $0.00} $18,073.49
—~ Meter Room G $26,264.23 $0.00} $26,264.23
— Stair Tower $924.43 $0.00 $924.43
— Meter Room D $29;965.39 $0.00; $29,965.39
Stair Tower $1,041.97 $0.00 $1,041.97
ry Walkways I $23,082.72 $0.00} $23,082.72
Concrete walkways $23,082.72 $0.00 $23,082.72
Parking $589,099.96 $0.00) $589,099.96
E Surface covered parking $201,401.56 $0.00} $201,401.56
| '— Surface Exterior Parking $387,698.40 $0.00| $387,698.40
[ESTIMATE TOTALS: $966,202.73 $0.00| $966,202.73}

{| = This Is an estimate of recorded damages and Is subject to review and final approval by the insurance ca carrie.“ rier, “= |

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